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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      Case No. 1:21-cr-00303 (ABJ)
       v.                                    :
                                             :
MICHAEL JOSEPH RUSYN,                        :
                                             :
               Defendant.                    :


                  GOVERNMENT’S EXHIBIT LIST FOR SENTENCING
       The government will offer the following exhibits at the defendant’s sentencing, which will

be shared with the Court and with defense counsel today (December 9, 2021).

       1. Photograph posted to the defendant’s Facebook account at 7:29 a.m. on January 6, 2021

       2. Image from the defendant’s Facebook account of apparent live recording at 2:10 p.m.

            on January 6, 2021

       3. Photograph posted to the defendant’s Facebook account at 2:16 p.m. on January 6, 2021

       4. Recording from U.S. Capitol Police surveillance footage of breach of eastern Rotunda

            doors at around 2:24 p.m. (camera faces doors)

       5. Recording from U.S. Capitol Police surveillance footage of the defendant’s entry into

            the U.S. Capitol Building at around 2:27 p.m. (camera faces doors)

       6. Recording from U.S. Capitol Police surveillance footage of breach of eastern Rotunda

            doors at around 2:24 p.m. and defendant’s entry into the U.S. Capitol Building at

            around 2:27 p.m. (camera faces Rotunda)

       7. Recording from U.S. Capitol Police surveillance footage of defendant’s travel through

            the Rotunda
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8. Recording from U.S. Capitol Police surveillance footage of the crowd and the

   defendant’s arrival in the Statuary Hall connector

9. Recording from John Earle Sullivan (“JaydenX”) of the crowd’s arrival in the Statuary

   Hall connector

10. Recording from John Earle Sullivan (“JaydenX”) of the crowd’s “We Want Trump”

   chant in the Statuary Hall connector

11. Recording from U.S. Capitol Police surveillance footage showing the defendant

   participating in “We Want Trump” chant in the Statuary Hall connector

12. Recording from U.S. Capitol Police surveillance footage showing the breach of the

   police line in the Statuary Hall Connector

13. Recording from John Earle Sullivan (“JaydenX”) showing the breach of the police line

   in the Statuary Hall Connector

14. Photograph of barricade of main door to the House of Representatives chamber

15. Video from the defendant’s cellphone in which co-defendant Lee celebrated the breach

   of the Capitol

                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     UNITED STATES ATTORNEY



                             By:     /s/ Michael J. Romano
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